CaSe 2213-CV-12995-L.]|\/| ECF NO. 118 filed 10/03/16 Page|D.1252 Page 1 Of 11

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

STEPHANIE ZDROWSKI, Guardian Ad Litem
of C.R., a minor,

Plaintiff,
v. Case No. 2113-cv-12995
Hon. Laurie J. Michelson
STACEY RIECK, NICOLE ADAMSON,
MICHAEL E. SHARRGW AND ALGONAC
COMMUNITY SCHOOL DISTRICT
a/l</a ALGONAC COMMUNITY SCHOOLS,
a statutory Michigan Public School District,

Defendants.
/

 

PLAINTIFF’S MOTION FOR APPROVAL OF SETTLEMENT FOR
MINOR AND FOR ALLOCATION OF PROCEEDS OF SETTLEMENT

NOW COMES Plaintiff, Stepahnie Zdrowski, n/l</a Stephanie Rice, duly appointed
Guardian Ad Litem of C.R., a minor, by and through her counsel, and for her Motion for
Approval of Settlement for Minor and For Allocation of Proceeds of Settlement, states as
follows:

l. C.R Was a seven year old second grader Who suffered injuries When he Was pulled
out from under a cubby and dragged down the hall at the Defendants’ School.

2. C.R. is autistic and the incident caused him to suffer emotional distress Which Was
a manifestation of his disability.

3. Stephanie Zdrowski, C.R.’s mother, Was appointed as Guardian Ad Litem of C.R.

4. C.R. Was hospitalized for a number of months during Which time he Was treated

for the emotional distress that he suffered as a result of the incident.

CaSe 221,3-CV-12995-L.]|\/| ECF NO. 118 filed 10/03/16 Page|D.1253 Page 2 Of 11

5. Stephanie Zdrowski brought suit against the Defendants alleging common law as
Well as Statutory violations

6. The Court granted the Defendants’ Motion for Summary Judgment and dismissed
the case.

7. Defendants filed an appeal of the Summary Judgment ruling With the Sixth
Circuit Court of Appeals.

8. Shortly before the parties Were to appear for oral argument of the appeal, a
settlement Was reached for the sum of $l0,000.

9. Plaintiff believes the settlement is in the best interest of C.R., since it is always
very difficult to forecast how an Appellate Court Will rule on issues.

lO. Plaintiff entered into a standard one-third Contingent Fee attorney agreement With
her counsel Which provided that Counsel Would pay for the out-of-pocket costs incurred in the
litigation and then recover the costs from any settlement or verdict.

ll. Plaintiff’s out-of-pocket costs in this matter amounted to $6,540.37. (Exhibit 1)

12. Stephanie Zdrovvsl<i and her counsel agreed to modify the Contingent Fee
Agreement so that the law firm Would receive $5,000 and she Would receive $5,000 on behalf of
C.R.

13. Under MCL §700.5102 a settlement Which does not exceed $5,000 may be paid to
an individual having the care and custody of the minor With Whom the minor resides.

l4. Stephanie Zdrowski has the care and custody of C.R. and C.R. resides With her.

WHEREFORE, Stephanie Zdrowski, as guardian ad litem of C.R., respectfully requests
the following relief:

A. That this Honorable Couit approve the settlement in the amount of $10,000.

CaSe 2213-CV-12995-L.]|\/| ECF NO. 118 filed 10/03/16 Page|D.1254 Page 3 Of 11

B. That the Court order distribution of the settlement proceeds as follows:
i. $5,000 to Hafeli Staran & Christ, P.C.
ii. $5,000 to Stephanie Zdrowski to be used pursuant to MCL §700.5102.
C. That the Court grant such other and further relief as shall be appropriate under the
circumstances
Respectfully submitted
Hafeli Staran & Christ, P.C.
/s/Mark W. Hafeli
2055 Orchard Lal<e Road

Sylvan Lake, l\/H 48320
(248) 731-3083

mhafeli(a)hsc-law.com
Dated: October 3, 2016 (P28908)

CaSe 2213-CV-12995-L.]|\/| ECF NO. 118 filed 10/03/16 Page|D.1255 Page 4 Of 11

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

STEPHANIE ZDROWSKI, Guardian Ad Litem
of C.R., a minor,

Plaintiff,
v. Case No. 2:13-cv-12995
Hon. Laurie J. Michelson
STACEY RIECK, NICOLE ADAl\/ISON,
MICHAEL E. SHARROW AND ALGONAC
COMMUNITY SCHOOL DISTRICT
a/lda ALGONAC COMMUNITY SCHOOLS,
a statutory Michigan Public School District,

Defendants.
/

 

PLAINTIFF’S BRIEF IN SUPPORT OF MOTION FOR APPROVAL OF SETTLEMENT
FOR MINOR AND FOR ALLOCATION OF PROCEEDS OF SETTLEMENT

Relief Reguested

This matter Was brought by a Court Appointed Guardian Ad Litem on behalf of a minor
pursuant to Fed. R. Civ. P. l7.

Pursuant to AT&T Mobz'lz'ly, LLC v Yeager, 143 F Supp 3d 1042 (E.D. Cal. 2015) and
Neilson v Colgare-Palmolive Co., 199 F?)d 642 (Z“d Cir. 1999) it is necessary that a settlement
made by a Guardian Ad Litem on behalf of a minor must be approved by the Court.

Pursuant to MCL §700.5102, payment to a minor may be delivered to an individual
having the care and custody of the minor and With Whom the minor resides. In this case
Stephanie Zdrowski has the care and custody of C.R. and C.R. resides With Stephanie Zdrowski.
The settlement in this matter Was for $10,000 Which the Plaintiff feels is in C.R.’s best interest

since the matter is on Appeal.

CaSe 2213-CV-12995-L.]|\/| ECF NO. 118 filed 10/03/16 Page|D.1256 Page 5 Of 11

Relief Reguested

WHEREFORE, Plaintiff respectfully requests this Honorable Court grant her the

following relief:

A. Approve the settlement in the amount of 310,000.

B. Approve distribution of the settlement as follows:

i. $5,000 to Hafeli Staran & Christ, P.C.

ii. $5,000 to Stephanie Zdrowski to be used pursuant to MCL §700.5102.

Dated: October 3, 2016

Respectfully submitted
Hafeli Staran & Christ, P.C.

/s/Mark W. Hafeli

2055 Orchard Lake Road
Sylvan Lake, MI 48320
(248) 731-3083

mhafeli@hsc-law.com
(P28908)

CERTIFICATE OF SERVICE

l hereby certify that on October 3, 2016, l electronically filed the Plaz'ntijj‘"’s Motz'on and
Brief in Support of Motz`on for Approvcil ofSeltlemem‘for Minor andfor Allocation ofProceea'S
of Settlement with the Clerk of the Court using the ECF system which will send notification of
such filing to the following persons(s): Timothy J. Mullins, Esq. and John L. Miller, Esq.

/s/Mark W. Hafeli

2055 Orchard Lake Road
Sylvan Lake, l\/II 48320
(248) 731-3083

mhafeli@hsc-law.com
(P28908)

CaSe 2213-CV-12995-L.]|\/| ECF NO. 118 filed 10/03/16 Page|D.1257 Page 6 Of 11

EXhibit l

CaSe 2213-CV-12995-L.]|\/| ECF NO. 118 filed 10/03/16 Page|D.1258 Page 7 Of 11

 

 

 

 

9/30/2016 Hafeli Staran & Christ, P.C.
10:21 Al\/l S|lp Listing Page 1
Se|ection Criteria
Slip.Slip Type Expense
Clie.Selectlon lnc|ude; Zdrowskl, Stephanie
Rate lnfo - identifies rate source and level
Slip lD '|'\mekeeper Units Rate S|ip Value
Dates and 'l”ime Activity DNB `|'lme Rate lnfo
Posting Status C|ient Est. Trme Bll| Status
Descriptlon l\/|atter Variance
204916 EXP IV|WH 1 15.00 15.00
9/19/2012 ' |Vledica| records
W|P Zdrowski, Stephanie
Copy of medical records- check #7458 payable to Civi| Rights C|aim
St. C|air County l\/lental Hea|th
214345 EXP l\/|WH 1 400.00 400,00
8/19/2013 Fi|lng fee
WlP Zdrowskl, Stephanie
Fi|lng fee - check #7803 Civi| Rights C|aim
214347 EXP MWH 1 367.50 367.50
8/19/2013 E)<pert witness fees
W|P Zdrowski, Stephanie
Expert Services - check #7803 Civi| Rights C|aim
214358 EXP lV|VVH 1 78.90 78.90
8/19/2013 Service fee
W|P Zdrowski, Stephanie
Service fee (Summons & Comp|alnt addressed to Civil Rights C|aim
l\/lichae| E. Sharrob) - check #7805 made payable to
Emunson process Service
214359 EXP l\/IVVH 1 35.75 35.75
8/19/2013 Service fee
W|P Zdrowski, Stephanie
Service fee (Summons & Complaint addressed to Clvil Rights C|aim
Nicho|e Adamson) - check #7805 made payable to
Emunson process Service
214360 EXP l\/lWH 1 57.00 57.00
8/19/2013 Service fee
W|P Zdrowskl, Stephanie

Service fee (Summons & Comp|alnt addressed to
Stacey Rieck) - check #7805 made payable to
Emunson process Service

Civi| Rights C|aim

CaSe 2213-CV-12995-LJ|\/|

ECF NO. 118 filed 10/03/16 Page|D.1259 Page 8 Of 11

 

9/30/2016 Hafeli Staran & Christ, P.C.
10:21 Al\/l Slip Listing Page 2
S|ip |D Timei<eeper Units Rate S|ip Va|ue
Dates and Trme Activity DNB Ume Rate info
Posting Status Client Est. Time Bi|| Status
Descrlption l\/|atter Variance
214362 EXP l\/|WH 1 59.55 59.55
8/19/2013 Service fee
W|P Zdrowski, Stephanie
Service fee (Summons & Complaint addressed to Civii Rights Claim
Algonac Community School District) ~ check #7805
made payable to Emunson process Service
216964 EXP lVlWH 1 0.50 0.50
11/19/2013 l\/lisce|laneous
WiP Zdrowski, Stephanie
Pacer service - check #7903 Civii Rights C|aim
217962 EXP |\/lVVl-i 1 75.32 75.32
12/27/2013 Copying
W|P Zdrowsi<i, Stephanie
Record production services - New Horizons Civii Rights C|aim
Counse|ing Center, PLLC - check #7952 made
payable to Legal Copy Services
217963 EXP |\/iWi-l 1 145.01 145.01
12/27/2013 Copying
W|P Zdrowski, Stephanie
Record production services - Havenwycl< Hospita| - Civii Rights C|aim
check #7952 made payable to Lega| Copy Services
217964 EXP l\/lWH 1 133.28 133.28
12/27/2013 Copying
WIP Zdrowski, Stephanie
Record production services - Saint Clair County Civii Rights Claim
Community l\/|enta| Health - check #7952 made
payable to Legal Copy Services
218007 EXP l\/|WH , 1 22.55 22.55
12/27/2013 UPS
WlP Zdrowski, Stephanie
UPS overnight delivery - check #7955 Civi| Rights C|aim
219381 EXP |\/lVVi-i 1 50.00 50.00
2/19/2014 |Viiscel|aneous
W|P Zdrowski, Stephanie
Runner fee to pick up interrogatories - check #8002 Civii Rights Claim
made payable to I\/|ichael Hafeli
220022 EXP I\/lWl-l 1 O.1O 0.10
3/11/2014 |Vliscellaneous
WlP Zdrowsi<i, Stephanie

Pacer service - check #8020

Civii Rights Claim

CaSe 2213-CV-12995-LJ|\/|

ECF NO. 118 filed 10/03/16 Page|D.1260 Page 9 Of 11

 

9/30/2016 Hafeli Staran & Christ, P.C.
10:21 Al\/l S|ip Listing Page 3
Slip |D `l'rmekeeper Units Rate S|ip Va|ue
Dates and '|'lrne Activity DNB '|'\me Rate |nfo
Posting Status C|ient Est. T\rne Bii| Status
Description l\/|atter Variance
220025 EXP MWH 1 27.25 27.25
3/11/2014 UPS
WlP Zdrowski, Stephanie
UPS overnight delivery - check #8021 Civil Rights C|aim
221940 EXP l\/|WH 1 30.44 30.44
5/21/2014 Deposition transcripts
WIP Zdrowski, Stephanie
Record production services - deponent iV|i||side Civii Rights C|aim
E|ementary Schoo| - check #8107 made payable to
Lega| Copy Services, |nc.
221941 EXP l\/iWH 1 82.69 82.69
5/21/2014 Deposition transcripts
W|P Zdrowski, Stephanie
Record production services - deponent Chi|dren's Civii Rights Claim
Hospita| of l\/lichigan - check #8107 made payable
to Lega| Copy Services, |nc.
221942 EXP l\/lWH 1 48.00 48.00
5/21/2014 Deposition transcripts
W|P Zdrowski, Stephanie
Record production services - deponent l-larbor Oaks Civi| Rights Claim
Hospita| - check #8107 made payable to Legai
Copy Services, inc.
221943 EXP l\/lWH 1 37.46 37.46
5/21/2014 Deposition transcripts
W|P Zdrowski, Stephanie
Record production services - deponent C|ay Civii Rights C|aim
Township Police Department - check #8107 made
payable to Legal Copy Services, |nc.
222564 EXP |V|WH 1 151.69 151.69
6/9/2014 Deposition transcripts
W|P Zdrowski, Stephanie
Copy of Deponent: |-lawthorn Center - check #8126 Civi| Rights C|aim
made payable to Lega| Copy Services
224925 EXP l\/lWH 1 402.10 402.10
8/25/2014 Transcript
W|P Zdrowsl<il Stephanie
Transcript cost - check #2008 made payable to Civii Rights C|aim
Hanson/Renaissance Court Reporters & Video
224929 EXP MWH 1 924.50 924.50
8/25/2014 Deposition transcripts
WlP Zdrowski, Stephanie

CaSe 2213-CV-12995-LJ|\/|

ECF NO. 118 filed 10/03/16

Page|D.1261 Page 10 of_ 11

 

9/30/2016 Hafeli Staran & Christ, P.C.

10:21 AiVl Slip Listing Page 4

S|ip |D Time|<eeper Units Rate S|ip Va|ue
Dates and Time Activity DNB Time Rate info
Posting Status Client Est. Tlme Bili Status
Description l\/|atter Variance
Transcripts of deposition - check #2013 made Civii Rights C|aim
payable to Tamara A. O'Connor

225214 EXP l\/lWH 1 1306.67 1306.67
9/3/2014 E)<pert witness fees
W|P Zdrowski, Stephanie
Expert fee - check #2023 made payable to ABC's Civii Rights C|aim
for Life Success, l_LC

225561 EXP MWH 1 79.20 79.20
9/11/2014 Transcript
VVlP Zdrowski, Stephanie
Transcript cost - check #2028 made payable to Civii Rights C|aim
C|ark Reporting & Associates

225566 EXP IV|WH 1 31.41 31.41
9/11/2014 UPS
W|P Zdrowski, Stephanie
UPS overnight delivery - check #2033 Civil Rights Claim

227242 EXP |V|WH 1 22.39 22.39
11/10/2014 UPS
W|P Zdrowski, Stephanie
UPS overnight delivery - check #2112 made payab|eCivii Rights Claim
to UPS ’

227345 EXP |\/|W|-l 1 1082.08 1082.08
11/13/2014 Expert witness fees
WlP Zdrowski, Stephanie
Consu|tation (9.75 hours) - check #2115 made Civi| Rights C|aim
payable to ABC's for Life Success, LLC .

228032 EXP l\/lWH 1 22.28 22.28
12/5/2014 UPS `
W|P Zdrowski, Stephanie
UPS overnight delivery - check #2145 made payab|eCivil Rights Claim
to UPS

235640 EXP |\/lWH 1 328.50 328.50
9/10/2015 'Transcript
WlP Zdrowskil Stephanie

Transcript cost for Appeal - check #2431 made
payable to l\/latthews Reporting, |nc.

Civii Rights C|aim

CaSe 2213-CV-12995-LJ|\/|

ECF NO. 118 filed 10/03/16

Page|D.1262 Page 11 of 11

 

9/30/2016 Hafeli Staran & Christ, P.C.
10:21 Ai\/| S|ip Listing Page 5
Slip |D Timekeeper Units Rate S|ip Va|ue
Dates and Tirne Actiw'ty DNB Tlme Rate |nfo
Posting Status Client Est. Tirne Bill Status
Description l\/|atter Variance
236697 EXP MWH 1 505.00 505.00
10/14/2015 E-filing fee
WlP Zdrowski, Stephanie
E-tiiing fee - Appea| - check #2472 Civii Rights Claim
237523 EXP l\/|WH 1 18.25 18.25
11/17/2015 Transcript
W|P Zdrowski, Stephanie
Transcript cost - check #2515 made payable to Civil Rights Claim
l\/latthews Reporting, lnc.
Grand Total
Bi||ab|e 0.00 6540.37
Unbi||ab|e 0.00 0.00
Total 0.00 6540.37

